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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA
__________________________________________
 RODNEY GRANT,                             )
                                           )
                  Plaintiff,               )
      v.                                   ) Case No. 17-cv-2797-NJB-DMD
                                           )
 MARLIN GUSMAN, et al.,                    )
                                           )
                 Defendants.               )

                Joint Motion to Modify Summary Judgment Submission Dates

     COME NOW, Plaintiff Rodney Grant and Defendants James LeBlanc, Timothy Hooper,

Sheriff Marlin N. Gusman, Major Sidney Holt, and Deputy Corey Amacker to file, pursuant to

Local Civil Rule 7(f), this Joint Motion to Modify Submission Dates.

I.   Procedural History

       Plaintiff filed a complaint on April 2, 2017. Rec. Doc. 1.

       From January 7, 2019 to June 4, 2019, the case was stayed due to DOC counsel’s military

service. Rec. Docs. 89-90.

       On June 20, 2019, this Court issued a scheduling order. Rec. Doc. 93.

       The scheduling order set a deposition cut-off of February 20, 2020, a dispositive motion

deadline of February 26, 2020, and a trial date of April 20, 2020. Id.

       Now, all dispositive motions have been filed in this case.

       Currently pending before this Court are the following with the submission date of February

26, 2020:

            •   Plaintiff’s Motion for Summary Judgment against DOC Defendants (R. Doc. 129);

            •   Plaintiff’s Motion for Summary Judgment against OPSO Defendants (R. Doc. 133);

            •   OPSO Defendants’ Motion for Summary Judgment (R. Doc. 136); and

            •   DOC Defendants’ Motion for Summary Judgment (R. Doc. 143).




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                                         II.   Discussion

        Per Local Rule 7.2, counsel for a party may pick the date that a motion is noticed for

submission. Here, all counsel selected February 26, 2020 for the cross-motions for summary

judgment. By this joint motion, counsel for all parties request leave to modify that submission date

to March 25, 2020. Such a modification will allow for the full and effective briefing of the cross

motions, and allow for a scheduled settlement conference to occur on March 10, 2020. Rec. Doc.

144.

                                        III.   Conclusion

        Plaintiff Rodney Grant and Defendants James LeBlanc, Timothy Hooper, Sheriff Marlin

N. Gusman, Major Sidney Holt, and Deputy Corey Amacker respectfully request that this Court

grant this motion.

Respectfully submitted,

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